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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
 _________________________________________
                                           )
 UNITED STATES OF AMERICA ex rel.          )
 MICHELLE CALDERON,                        ) 1:16-cv-00920-RLY-MJD
                                           )
                         Plaintiffs,       )
       v.                                  )
                                           )
                                           )
 CARRINGTON MORTGAGE SERVICES, LLC, )
                                           )
                         Defendant.        )
 _________________________________________ )


     SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                       31 U.S.C. § 3729, ET SEQ.




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      SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                        31 U.S.C. § 3729, ET SEQ.

         This is an action brought on behalf of the United States of America by Michelle

 Calderon, by and through her attorneys, ORZESKE - BLACKWELL, P.C., against Defendant

 Carrington Mortgage Services, LLC (“Carrington”), pursuant to the qui tam provisions of the

 Federal Civil False Claims Act, 31 U.S.C. §3729, et seq.

                                  I.      JURISDICTION AND VENUE

         1.          This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C.

 §3732(a), 28 U.S.C. §1331, and 28 U.S.C. §1345.

         2.          This Court has personal jurisdiction over the Defendant because, among other

 things, the Defendant transacts business in this District, and Defendant engaged in wrongdoing

 in this District.

         3.          Venue is proper in this District under 31 U.S.C. §3732(a) and 28 U.S.C.

 §11391(b) and (c). Defendant transacts business within this District, and acts proscribed by 31

 U.S.C. §3729 occurred in this District.

         4.          The causes of action alleged herein are timely brought because, among other

 things, of efforts by the Defendant to conceal from the United States its wrongdoing in

 connection with the allegations made herein.

                                         II.    INTRODUCTION

         5.          This is a civil fraud action on behalf of the United States to recover treble

 damages and civil penalties under the False Claims Act ("FCA"), as amended, 31 U.S.C. §§ 3729

 et seq., and common law damages arising from fraud on the United States Department of




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 Housing and Urban Development ("HUD") and the Federal Housing Administration ("FHA"), in

 connection with Carrington’s residential mortgage lending business.

        6.      From at least March, 2013 through March, 2015, ("Covered Period"), Carrington

 was authorized to approve residential mortgage loans for government insurance and refinancing

 by the FHA. However, before Carrington could approve a loan for government insurance or

 refinancing, it had to confirm that the loan met the underwriting requirements applicable to FHA

 loans. Notwithstanding this requirement, throughout the Covered Period, Carrington, by,

 through, and dictated by its employees (including, but not limited to, Jim Sims, Jeremy Milner,

 Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt, Cassandra Miller, Rich Marfino,

 Bruce Rose and Jeff Gillis, and the underwriters set forth in this Paragraph 6) routinely, on a

 daily basis, approved loans for government insurance and refinancing that clearly did not meet

 the applicable underwriting requirements.     Indeed, thousands of the loans that Carrington

 approved for government insurance or refinancing during the Covered Period had multiple,

 obvious violations of the applicable underwriting requirements, including instances where: (1)

 the loan files were missing required documents, such as pay stubs, bank statements, W-2’s, gift

 letters and payoff verifications; (2) the documents in the loan files were inconsistent with one

 another, such as where the income reflected on a borrower's pay stubs was inconsistent with the

 income reflected on the borrower's other paperwork; and (3) in the case of refinances, the loans

 were delinquent at the time of closing or had late payments in the previous 12 months. The

 following are specific examples of fraudulently approved loans:

             a. LOAN 1: Carrington’s practices are exemplified in the following loans, the first
                of which was to Borrower 1 in Lindale, Texas, which closed in February, 2015.
                These loans demonstrate the manipulation of the Desktop Underwriting System
                (“DU”) and the failure to use proper underwriting procedures to deceive HUD.



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                 i. On or about November 4, 2014, a third party, on behalf of Borrower 1,
                    issued a $1,000 earnest money check for the purchase of a manufactured
                    home. No gift letter was submitted. The file materials submitted for this
                    first casefile, ending in 799 for Borrower 1 (hereinafter “Casefile A”),
                    include only a Uniform Residential Loan Application completed by
                    Borrower 1 on the date of closing, February 5, 2015, which raises
                    questions with regard to the legitimacy of the approval and loan approval
                    process.

                ii.    A credit report was completed on Borrower 1 and his wife on November
                      20, 2014. Pursuant to the U.S. Department of Housing and Urban
                      Development’s Handbook, HUD 4155.1, Mortgage Credit Analysis for
                      Mortgage Insurance, 4.A.5.c, (hereinafter “HUD 4155.1”) and Carrington
                      Credit Processing Requirements, Volume 1.3, p. 93, a non-purchasing
                      spouse’s debt MUST also be considered by the underwriter in certain
                      states, including Texas. Borrower had a poor credit score of 618, and had
                      collections on overdue accounts for credit cards, rent, telephones, and
                      medical care. His wife had a credit score of 597, with $31,417 in
                      outstanding debt, including three in delinquency, seven in collections, and
                      monthly payments of $789. She also had 25 inquiries on her credit in the
                      previous 120 days.

               iii. The first DU Findings Report in the file is FHA Submission No. 16 (A-16)
                    made on November 19, 2014, which indicates that the DU user, identified
                    as d252xjmw, had already run this borrower through the system 15 times
                    attempting to get him approved with varying information submitted, and is
                    evidence of manipulation of the system and fraudulent submissions. This
                    was run with a somewhat generic input for creditors. Specifically, three
                    creditors were listed and a generic creditor named “collections” with a
                    balance of $1,843 was listed. There is no mention of any debt owed to
                    Nissan Motor, which was in collections, and is listed on borrower’s credit
                    report. Carrington’s omission of creditors in the DU submissions and lack
                    of explanation of same violates HUD 4155.1, 4.C.1.c and 4.C.2.d.

               iv. On November 23, 2014 at 3:49 p.m., DU A-17 was submitted by DU user
                   148n2jlm with a result of Refer/Ineligible (meaning it is referred for
                   manual underwriting, and is ineligible for an FHA loan). As indicated in
                   the DU report for A-17, paragraph 4, the case was referred because the
                   lowest median FICO was less than 620 (it was 618) and the debt to income
                   ratio was greater than the maximum of 43%. The loan was further


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                    ineligible because Borrower 1 did not have the funds to close, as set forth
                    in A-17, paragraph 6. This DU submission included the following debts:


                             Creditor                        Balance      Payment
                             Carfinance.com                  $15,804      $389
                             WFDS                            $15,213      $375
                             CapOne/HLZBG                    $1,950       $49
                             Blakely Witt & Associates       $1,267       $63.35
                             Caine & Weiner                  $576         $28.80
                             Credit One Bank NA              $400         $25
                             TD Bank USA/Target Cred         $395         $25
                             SYNCB/Walmart                   $355         $25
                             Rickman & Rickman               $236         $12

                v. The following accounts were noted as omitted from the Underwriting
                   Analysis. DU requires that documentation be provided to support the
                   omission. No documentation was provided.

                             Creditor                        Balance      Payment
                             Nissan Motors Acceptance        $5,622       $0
                             Valarity LLC                    $144         $0

               vi. Borrower had a seven-month work history at his employer at the time of
                   application. The file contains no verification of previous employment, nor
                   wages therefrom. Two years of employment and income verifications with
                   W-2s or paystubs are required for approval under HUD 4155.1, 4.D.1 This
                   requirement was disregarded and the loan was approved without the
                   required documentation.

               vii. On November 23, 2014, at 3:53 pm, Casefile A-18 submission was made
                    by DU user 148n2jlm, which resulted in Approved/Ineligible. The loan
                    was ineligible due to inadequate funds to close. Casefile A moved from
                    Refer to Approve because the debt to income ratio was reduced to 42.63%,
                    by removing debts owed to Blakely Witt & Associates, and Caine &
                    Weiner. However, the approval also states those two debts owed must be
                    paid off, with evidence of payoff and source of funds included in the loan

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                   file, required by both DU Report A-18 and HUD 4155.1, 4.C.1.c. No
                   evidence of payoff or source of funds was included in the file, therefore
                   making this loan ineligible to close due to lack of evidence of payoffs.

              viii. Within the next 10 minutes following A-18 submission, A-19 and A-20
                    were submitted to DU, both by user 148n2jlm, without explanation. Both
                    of these submissions required $13,666 to close, with only $10,936.05
                    available to borrower, therefore making the loan ineligible under FHA
                    Guidelines.

               ix. A few minutes later, on November 23 at 4:03 pm, DU A-21 was submitted
                   by user 148n2jlm, which yielded a finding of Approve/Eligible. The
                   difference between DU A-20 and DU A-21 was that an additional $3,500
                   USAA checking account is listed as an asset in A-21. This caused the
                   available funds to rise to $14,436.05. There is no documentation of the
                   existence of the second USAA checking account. Submitting false assets
                   to DU is fraud, resulting in a fraudulent approval of the loan.

                x. On December 22, 2014, at 11:56 a.m., this loan was once again submitted
                   to DU, by user 148n2mec, but of note was the new casefile ID number
                   assigned (same borrower and same property), ending in 618 (Casefile B).
                   The DU finding for submission B-1 was Refer/Eligible, with the same
                   creditors listed in subsection 6(a)(iv) above, as the debt to income ratio
                   was above the acceptable limit at 45.19%.

               xi. Nissan is again not listed as a creditor on the B-1 submission, and there is
                   no evidence of payoff of that loan. Further, Borrower’s assets listed were
                   two checking accounts from USAA as well as a gift which was not
                   documented. A few minutes later, DU B-2 was run, again with the
                   omission of TD Bank USA/Target debt, which yielded an excessive debt
                   to income ratio of 44.66%, and therefore was still referred for manual
                   underwriting.

               xii. Approximately five minutes later, DU B-3 was run, this time with debt to
                    Caine & Weiner also removed. This yielded a total expense ratio of
                    43.32%, which still resulted in a Refer/Eligible finding due to the
                    excessive ratio.

              xiii. That same day at 3:00 p.m., DU B-4 was run, wherein Credit One Bank
                    and SYNCB/Walmart debts were removed and Caine & Weiner was
                    reinserted as a creditor. This yielded a total ratio of 42.45% and an
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                   Approve/Eligible finding was issued. However, on January 29, 2015, at
                   1:01 p.m., DU B-7 was submitted with the same credit entries as B-4, but
                   the assets were changed to reflect a checking account of $11,328.69. The
                   required funds to close were noted to be $10,410 and the available funds
                   were now listed as $11,328.69.

              xiv. Borrower 1’s loan closed on February 5, 2015. However, another DU
                   submission, B-9, was run on March 20, 2015, six weeks after it closed.
                   The results of this submission were a finding of Approve/Eligible, with a
                   lower ratio of 40.90% than previously obtained. This was caused by
                   decreased payments to Capital One/HLZBG and Credit One Bank, and the
                   omission of Blakely Witt & Associates, Caine & Weiner and Rickman &
                   Rickman. No evidence of payoff nor source of funds for same was
                   provided to justify the omission. The B-9 submission does include,
                   however, a payment of $25 with a balance of $510 owed to TD Bank
                   USA/Target Cred. Once again, the only asset shown was a checking
                   account in the amount of $11,328.69.

               xv. An examination of Borrower 1’s file reveals that there was a THIRD loan
                   casefile opened for DU submission beginning in early January, 2015,
                   using case file ID ending in 320 (“Casefile C”), by DU user 148n2jlm.
                   The first such submission, C-1, used the same creditor information as that
                   submitted under Casefile B on December 22, 2014, at 3:00 p.m. Therefore,
                   it resulted in a finding of Approve/Eligible.

              xvi. The same numbers were again submitted by user 148n2jlm on January 29,
                   2015, submission C-3, resulting in an Approved/Eligible finding. On
                   January 30, 2015, submission C-4, by user 148n2jlm, was Refer/Eligible
                   and of note was the inclusion of the Nissan debt of $5,622 in collections,
                   although this debt was excluded from the Underwriting Analysis. No
                   explanation was made justifying the exclusion of the Nissan debt, which is
                   required by HUD 4155.1, 4.C.4.b and 4.C.2.d, which state in part:

                           Collection Accounts and Judgments Applicable to Manually
                           Underwritten Loans: The lender must document reasons for
                           approving a mortgage when the borrower has collection
                           accounts or judgments. Regardless of the amount of
                           outstanding collection accounts or judgments, the lender
                           must determine if the collection account or judgment was a
                           result of: the borrower’s disregard for financial obligations;
                           the borrower’s inability to manage debt; or extenuating
                           circumstances. The borrower must provide a letter of

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                           explanation with supporting documentation for each
                           outstanding collection account and judgment. The
                           explanation and supporting documentation must be
                           consistent with other credit information in the file.

              xvii. DU C-5 was submitted by user 148n2jlm on January 30, 2015 at 10:44
                    a.m. This report showed a Refer finding based upon lack of a credit score.
                    The expense ratio dropped to 40.90% using the numbers that were used in
                    submission 9 under Casefile B. On January 30, 2015 at 10:58 a.m., C-6
                    was submitted to DU by user 148n2jlm, with an Approved/Eligible
                    finding. The total ratio was 41.43%. This was achieved by omitting debts
                    owed to Blakely Witt & Associates, Caine & Weiner, Rickman &
                    Rickman, and Nissan Motor. However, no reason was provided for those
                    exclusions, which is again in violation of HUD 4155.1, 4.C.4.b and
                    Carrington Credit Processing Requirement, Vol. 1.3, p. 93.

             xviii. A few minutes later at 11:00 a.m., this loan was again submitted to DU by
                    user 148n2jlm, but using Casefile 618 (B-8), and also received an
                    Approve/Eligible finding. This time, the debt to income ratio was 42.45%.
                    In calculating this amount, debt from Capital One/HLZBG, Blakely &
                    Witt, Caine & Weiner, Rickman & Rickman were included. TD Bank
                    USA/Target Cred was listed but excluded from the calculation with no
                    explanation. SYNCB/Walmart was not listed, nor was Nissan. However,
                    no reason was provided for those exclusions, which is again in violation of
                    HUD 4155.1, 4.C.4.b and 4.C.2.d, and Carrington Credit Processing
                    Requirement, Vol. 1.3, p. 93.

              xix. On January 29, 2015, the Carrington underwriter with CHUMS ID Bf49
                   approved this loan for transmittal to HUD. No comments were made on
                   the transmittal by the underwriter.

               xx. This loan closed on February 5, 2015. The Uniform Residential Loan
                   Application lists liquid assets of $22,328.69 by crediting the $10,000 gift
                   twice (once on its own and once as part of the account total), which is
                   wholly inaccurate. This application also omits the debts owed to Nissan
                   Motor and Caine & Weiner. Although the files seemingly document that
                   the down payment was a result of a $10,000 gift, and the earnest money
                   was a $1,000 gift, there are no gift letters for this file, which violates HUD
                   4155.1 5.B.5.a.




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               xxi. On Carrington’s November 23, 2014 submission result (A-21), submitted
                    by user 148n2jlm, conditions for loan approval were listed. Those
                    conditions required documentation that the collections for $1,267 and
                    $576 were paid off, of which documentation was not provided.

              xxii. After the loan closed, Borrower made only four payments on the loan, and
                    the loan defaulted with a reason given of “unable to contact borrower.”
                    This resulted in claims made on and paid by the U.S. Government in the
                    total amount of $102,948.77 with respect to LOAN 1, which damage is a
                    direct and proximate result of the above listed violation of HUD policy
                    and submission of fraudulent information.

          b. LOAN 2: On March 21, 2014, Borrower 2 completed a Uniform Residential Loan
             Application wherein she stated she was unmarried with two children under the
             age of five, was employed at Buckhead Restaurant for the past 30 months, and
             had a monthly income of $2,749.

                 i. She provided information indicating that she had a “Second Chance
                    Checking” account at Bank of Kentucky, and account at Kentucky Federal
                    Savings Bank, jointly totaling $11,155. She listed her debts as:

                               Creditor                    Amount Owed
                               Federal Loan Services       $3,500
                               Department of Ed/SLM        $533
                               Sallie Mae                  $204

                ii. On March 27, 2014, Borrower 2’s loan was submitted to DU under
                    Casefile ID ending in 581 (hereinafter “Casefile A”). This submission was
                    apparently in order to obtain “preapproval”. The DU findings were
                    Refer/Eligible and reflected a sales price of $100,000. Base income was
                    determined to be $2,749. Assets were listed as $8,628 in checking and
                    $2,027 in savings.

                iii. On April 4, 2014, Borrower 2 entered into a sales contract to purchase a
                     home in Florence, Kentucky for $99,800.

                iv. The file contains a verification of deposit from Kentucky Federal Savings
                    Bank indicating that on April 29, 2014, there was a balance of $2,027.66.




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                v. A credit report was completed on March 21, 2014, which showed a credit
                   score of 592. Borrower 2’s scores were 559, 592, 607. Borrower 2 had
                   debts of:

                        1. $6,000 Federal Loan Service, student loan-payment deferred, from
                            February, 2014.
                        2. $3,500 Federal Loan Serve with student loan-payment deferred,
                            from February, 2014.
                        3. Online Collections in the amount of $659 with $659 shown as past
                            due, from June, 2012.
                        4. Department Ed/SLM with a balance of $533, now current, but was
                            120 days overdue, from February, 2014.
                        5. Eagle Financial with balance of $377, with $392 past due and
                            noted as charged off account, from February, 2014.
                        6. University of Phoenix with a balance of $339 with a past due
                            amount of $339, shown as charged off, from March, 2014.
                        7. Bull City Financials in the amount of $290 with $290 past due in
                            collection, from March, 2014.
                        8. Sallie Mae with a balance of $204, from February, 2014.
                        9. Credit Protection (Insight Communications) with balance of $121
                            and $121 past due in collection, from December of 2010.
                        10. Columbia House with a balance of $110 and $110 past due in
                            collection, from October, 2011.
                        11. Credit Solutions LLC with a balance of $95 and $95 past due in
                            collection, from March, 2014.
                        12. Unique National Coll balance of $70 and past due amount of $70
                            in collection, from June, 2013.
                        13. Department of Education Sallie Mae outstanding loans as follows:
                                a. $3,000 delinquent 120+ days, from October, 2010.
                                b. $1,750 delinquent 120+ days, from October, 2010.
                        14. First Premier Bank $452 charged off; notation that account sold to
                            Asset Acceptance Corp.

                vi. The trade summary of Borrower 2’s Credit Report indicates a total of
                    $12,298 in outstanding debt, with $2,076 past due. It further indicates that
                    she had four accounts that were 90 days or more past due.

               vii. Borrower 2 provided a letter simply indicating that the Online Collections
                    debts are not her responsibility. She alleges that they are the responsibility
                    of her prior companion. Borrower 2 also disputes the Columbia House and
                    Eagle Financial Services accounts. Finally, she stated that the Insight

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                    account was a result of her prior companion using her information. None
                    of these denials were verified by the underwriter, as required by HUD
                    4155.1 4.C.1.c, nor is there an explanation as to why Borrower 2, even
                    with the explanation given, would not be obligated for the debts.

               viii. On April 15, 2014, Carrington Mortgage issued a Notice of Incomplete
                     Application and Request for Additional Information, specifically,
                     Carrington requested two years of 1040s, the two most recent bank
                     statements, and a gift letter if needed. There is no indication that 1040s
                     were supplied. The bank statements provided contradicts the numbers that
                     are eventually submitted for this loan. There is a bank statement that does
                     include a $10,000 credit, presumably from Borrower 2’s father. There is a
                     wage statement from Buckhead Mountain Grill for pay date June 2, 2014
                     which shows total gross $16,275.40. Using just Borrower 2’s regular
                     salary, this yields a monthly income of $2,793, plus bonus income of
                     $326. The Underwriter calculated Borrower 2’s base income at $2,833.
                     There is no indication that Carrington obtained or reviewed tax returns of
                     Borrower 2. Further, there is no indication that Borrower 2’s incomes was
                     verified by w-2s or paystubs for two years, which is required by HUD
                     guideline 4155.1 4.D.1.

                ix. This matter was again submitted to DU beginning on June 22, 2014 under
                    a new Casefile ID (ending in 235; herein after “Casefile B”). The
                    submission on June 2, 2014 yielded a Refer/Eligible finding. The Housing
                    Expense Ratio was determined to be 29.89% with a Total Expense Ratio
                    of 31.75%. The underwriter used only the following two liabilities in his
                    assessment:

                         Creditors                        Balance       Payment
                         DPTED/SLM                        $533          $37
                         Department of Ed/Sallie Mae      $204          $14

                 x. The underwriter excluded from the underwriting analysis, without
                    explanation, the following:

                         Creditors                        Balance         Payment
                         Fed Loan Serve                   $6,000          $0
                         Fed Loan Serve                   $3500           $0
                         Online Collections               $659            $0
                         University of Phoenix            $339            $0
                         Bull City Financial Solution     $290            $0
                         Credit Protection Associates     $121            $0

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                         NATL RACOVER                     $110            $0
                         Credit Solutions LLC             $95             $0
                         Unique National Coll             $70             $0

                xi. At that time the underwriter used $2,749 as Borrower 2’s base monthly
                    income. Further, assets of $9,944.34 (gift from father) in the Bank of
                    Kentucky and $2,027 at Kentucky Federal were listed. A gift letter was
                    provided to underwriting, in violation of HUD 4155.1, 5.B.5.a.

               xii. Borrower 2 indicated in her application, and again in a letter of
                    explanation, that she lived rent free with her father. HUD 4155.1, 4.C.2.b
                    requires that the borrower’s 12 months rental history be verified, which
                    would have revealed massive payment shock in going from $0 to $770.67
                    in total monthly housing expense. Applicants statement is directly
                    contradicted by Carrington Underwriter Aa79 who indicates in the Loan
                    Transmittal that Borrower 2 had been paying the mortgage at her father’s
                    home while she lived there. This intentional misrepresentation of facts is
                    evidence of fraud on the U.S. Government, which resulted in damages
                    thereto.

               xiii. This loan was submitted by user 148n2m7w to DU B-2 on June 10, 2014,
                     which again yielded a Refer/Eligible finding, with debt to income ratios of
                     29.89% (all debt) and 31.75% (housing).

               xiv. The last DU in the file, submitted by user 148n2m7w was from June 10,
                    2014, at 11:04 a.m. (B-3), and resulted in a Refer/Eligible with ratios of
                    29.01% and 30.81%, due to an increase in the base employment income to
                    $2,833.

                xv. This loan was approved, and submitted with FHA Loan Underwriting and
                    Transmittal Summary on June 10, 2014 by underwriter with CHUMS ID
                    Aa79. The underwriter noted the following strengths:

                             6 months of reserves. Letter of explanation from father
                             explaining that the borrower had been living with him
                             since his wife had passed away and he was on disability.
                             Borrower had to pay his mortgage since he was waiting
                             for disability approval and backpay. That is why borrower
                             was given the $10,000 gift from her father. It was really
                             repaying her for bills that she had paid for him, and
                             probably a little extra. Borrower received a promotion at
                             work in the last 6 months, base pay only to qualify.

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                     Although a letter from the father is referenced, no such letter was found in
                     the file. Further, this statement directly contracts Borrower’s prior
                     declaration that she was living rent free with her father.

                xvi. Borrower 2’s first mortgage payment was due August 1, 2014. The first
                     payment was made on July 30. Thereafter, the remaining payments were
                     at least 30 days late, with the exception of a December payment which
                     was only 29 days late. A total of six payments were made, five of which
                     were late, before Borrower 2 stopped making payments. The reason for
                     default provided was curtailment of income, which is consistent with the
                     information the underwriter had in the file and disregarded when he
                     approved the loan. This mortgage foreclosed and a claim was submitted to
                     the U.S. Government, with payments to Carrington to date of $50,284.88.
                     Payment was made in November, and additional claims on this mortgage
                     may still be outstanding at the time of this filing.

           c. LOAN 3: On March 1, 2014, Borrower 3 entered into a contract to buy a house
              located in Bonaire, Georgia for $106,000.

                  i. Prior to entering into the contract, Borrower 3 contacted Carrington about
                     obtaining a mortgage. A credit report was requested on February 20, 2014.
                     Borrower 3 had previously contacted Quicken Mortgages who ran a credit
                     report on February 9, 2014.

                 ii. A credit report was received by Carrington on March 20, 2014. Borrower
                     3’s credit score was 582, very poor. His credit history showed open
                     accounts/debt    with      Hyundai,    and    ENHANCRCVRCO             and
                     XLACCELRECVM, which are collection agencies. Although Borrower 3
                     had recently purchased an automobile from Honda using credit, as
                     indicated on his April 11, 2014 letter of explanation to Carrington, there
                     was no debt entry for that auto loan.

                 iii. The first Uniform Residential Loan Application in the file completed by
                      Borrower 3 was dated April 4, 2014, five weeks after Borrower 3 entered
                      in the contract. he represented that his current job of three months was at
                      O’Charley’s Inc. where he worked as a kitchen manager with monthly
                      income of $4,166.66. He also represented that his previous employment
                      was at NBC Universal from March 14, 2003, until October 25, 2013, with
                      monthly income of $3,220. Borrower 3 also represented that he was
                      unmarried and had no dependents. He was paying rent in the amount of

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                    $750 per month at the time of application. He listed assets of $1,000 in
                    earnest money, $9 in a Bank of America account, $1,150 in a second Bank
                    of America account, and a gift in the amount of $6,000. Additionally, he
                    represented owning a 2013 Hyundai Elantra and a 2012 Honda Civic for
                    total assets of $52,159. Borrower 3 lists his liabilities as:

                           Lender                 Monthly Payment       Unpaid Balance
                           Hyundai Finc           $335/month            $13,766
                           ENHANCRCVRCO           $0/month              $790
                           ACCELRECVM             $0/month              $455
                           FST Premier            $9/month              $451

                iv. Although Borrower 3 represented that he has no dependents, his tax
                    returns reviewed by the underwriter clearly contradict this representation
                    and state he has a dependent and is claiming same as a tax deduction.

                v. Carrington completed an income calculation worksheet, based on
                   Borrower 3’s income using tax returns, which showed 2013 income of
                   $16,291.72 and 2012 income of $7,017. Borrower 3 had, however, earned
                   $12,450.39 in the first quarter of 2014. Carrington adjusted Borrower 3’s
                   income to $3,750.07 per month based upon verification from O’Charley’s
                   of a yearly salary of $45,000.

                vi. On April 17, 2014, Borrower 3 wrote to Carrington to explain his negative
                    credit. He denied having accounts with Time Warner Cable or Stratford
                    Career Institute. He also denied having an account with First Premier
                    Bank. None of these denials were verified by the underwriter, as required
                    by HUD 4155.1, 4.C.1.c.

               vii. On April 21, 2014, Borrower 3 wrote to Carrington and indicated that he
                    was currently living with his fiancé and her family, and was not required
                    to pay rent, which contradicts his Application statement indicating he was
                    paying $750 per month in rent. Further, he represented that while he was
                    living in California, he lived with his father. HUD 4155.1, 4.C.2.b requires
                    that the borrower’s 12 months rental history be verified, which would have
                    revealed massive payment shock in going from $0 to $817.57 in total
                    monthly housing expense on his new mortgage, which total is shown on
                    the closing paperwork for this loan.

               viii. While working at NBC Universal, he made $11 to $12 an hour and was
                     going to school. This also contradicts his Application statement which

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                    indicates he was making $3,200 monthly at NBC, as, even at full time,
                    $12 an hour would total only $1,920 per month. Carrington submitted this
                    loan to DU 14 times. The 14th submission, made by user 148n2rxp,
                    occurred on April 25, 2014 (none of the first 13 submissions are included
                    in the file), with a finding of Refer/Eligible. The liabilities listed for
                    Borrower 3 were:

                               Creditor                     Balance        Payment
                               Hyundai Finc                 $13,766        $335
                               GECRB/Care Credit            $700           $25
                               American Honda Finance       $10,618        $232

                ix. The entry for GECRB/Care Credit contradicts Borrower 3’s statement of
                    April 11, 2014, on his letter of explanation, wherein he indicates that the
                    only credit established as a result of credit inquiries in January/February
                    2014 were for purchase of a Honda. Rather, it appears that there was a
                    revolving charge that was instituted in February of 2014. We note that on
                    April 17, 2014, Borrower 3 wrote on his letter of explanation that he never
                    had a credit card from First Premier Bank or anyone else: “I have never
                    had a credit card because I don’t desire to have one.” Nevertheless, a
                    credit card was included on his credit report, and was utilized as part of
                    the DU.

                x. On April 25, 2014, Carrington Underwriter GA38 completed an FHA
                   Loan Underwriting and Transmittal Summary approving this loan. The
                   underwriter commented:

                           AUS offering is Refer/Eligible, loan has been manually
                           underwritten 585 FICO was not indicative of borrower’s
                           credit profile. He has open positive credit. His adverse
                           credit consists of paid collections of $625, charge off $451
                           and two open collections ($1,245 total), all aged. Borrower
                           received doctorate in Food Service Restaurant Management
                           in 2013, relocated from CA to GA and is now employed as
                           kitchen manager at a large chain restaurant with solid
                           steady income. Borrower has received home ownership
                           education. Compensating factor-borrower is putting down
                           larger down payment (full 5%).

                xi. The approval of this loan based on false information is fraud and is not
                    supported by the documentation in the file. Borrower 3’s credit score was
                    extremely low, at 582. The underwriter discredited Borrower 3’s statement
                    that he never had a credit card in the past, nor that he had not obtained

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                     credit from ENHANCECRCO or XLRECVM, as the underwriter included
                     these as aged open collections in the submission. These collections were
                     reported in August 2012 and December 2013 respectively. While it is true
                     that Borrower 3 did receive a degree in food service restaurant
                     management, his employment at O’Charley’s was for a duration of only
                     three months, as evidenced by the income calculation worksheet. Further,
                     the employment verification from Universal Studios and his tax records do
                     not show income of $3,200 per month, as represented on Borrower 3’s
                     loan application. Rather, Borrower 3 is described as an on-call employee
                     for Universal Studios. There is no documentation of Home Ownership
                     Education in the materials. Most importantly, the underwriter lists “a
                     compensating factor” of the borrower putting down a larger down
                     payment (full 5%). Pursuant to HUD 4155.1, 4.F.3.b, an “increased
                     compensating factor” is to be used when a borrower makes a large down
                     payment of 10% or higher towards the purchase of the property.”
                     Emphasis added. In this case, Borrower 3 was seeking a loan of $102,385
                     for a home with a sales price of $106,000, therefore making the down
                     payment only 3.4% of the purchase price, and not qualifying as a
                     compensating factor, and falling well below the 5% reported by the
                     underwriter.

                xii. Borrower 3 made seven payments on this loan before it defaulted, with
                     one of those payments having been returned for insufficient funds. The
                     reason given for the default was “unable to contact borrower.” This
                     resulted in claims against HUD in the amount of $8,471.95 in costs
                     associated with foreclosure, in addition to an unknown amount for the loss
                     on the house as said documentation is missing from the file.

           d. LOAN 4: On January 9, 2015, Borrower 4 completed a Uniform Residential
              Loan Application with Carrington for an FHA Mortgage refinance of her primary
              residence located in Savannah, Georgia. The current loan on this property was
              held by Carrington in her and her ex-husband’s names. The application was for a
              FHA Streamline Non-credit Qualifying Mortgage.

                  i. On January 6, 2015, three days prior to her application, Borrower 4’s ex-
                     husband quitclaimed his interest in the property to Borrower 4.

                 ii. In the Commitment for Title Insurance, completed February 23, 2015,
                     First American Title Insurance Company found that the property was
                     owned by borrower and her ex-husband as joint tenants with rights of


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                    survivorship, therefore evidencing that the quitclaim deed signed on
                    January 6, 2015, was not recorded, and therefore ineffective.

                iii. Borrower 4’s Streamline non-credit qualifying refinanced loan was
                     approved and closed on February 28, 2015. This loan not only refinanced
                     the mortgage, but also removed Borrower 4’s ex-husband from
                     responsibility for the mortgage. The closing date for the refinance was at
                     most 53 days after the execution of the quitclaim deed. Given that the title
                     company determined on February 23, 2015, that ownership of the property
                     remained vested in both the Borrower 4 and her ex-husband, it appears
                     that the removal of a borrower occurred without any valid transfer of the
                     co-borrower’s interest. According to HUD 4155.1,6.C.2.d: a borrower
                     may be deleted from the title on a streamline refinance only under certain
                     circumstances, one of which applies to divorce, if all requirements are
                     met:

                            Following an assumption of a mortgage in which the
                            transferability restriction (due-on-sale-clause) was not
                            triggered, such as in a property transfer that resulted from a
                            divorce decree or by devise or descent, and the assumption
                            or quitclaim of interest occurred more than 6 months
                            previously and the remaining owner-occupant can
                            demonstrate that he or she has made the mortgage
                            payments during this time.

                    Emphasis added.         In the event that the requirements of HUD
                    4155.1,6.C.2.d are not met, then the refinance would be subject to credit
                    qualification for the remaining owner

                iv. Carrington underwriter Hg20 completely disregarded HUD regulations
                    and approved this loan based on fraudulent information and without credit
                    qualification. The quitclaim was signed, but not recorded, much less than
                    six month before the loan approval. Further, the file materials clearly
                    indicate that Borrower 4 was independently an unacceptable credit risk
                    and did not qualify for an FHA loan following her divorce. Specifically,
                    the borrower was self-employed with an erratic stream of income.

                v. Borrower 4’s bank statements reviewed by the underwriter establish a
                   consistent pattern of decreasing balance beginning in July 2014.

                vi. The December, 2014 bank statement, which was provided to the
                    Carrington underwriter, demonstrates that Borrower 4 had significant

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                    credit card debt, including payments to Shell, Capital One, Fuel Rewards
                    Network MasterCard, Synchrony Bank, Wells Fargo Cards Services,
                    Kohls, GE Capital Retail Bank, and Lowes. Further, there was evidence of
                    a number of overdraft advances from several small savings accounts at
                    Capital One to Borrower 4’s checking account. Finally, the checking
                    account statement shows that the borrower’s December mortgage payment
                    failed to clear until January 2, 2015, more than 30 days after its due date.
                    A cursory review of this applicant’s file reveals that she was not qualified
                    to be a sole debtor on this property, and the closing of this loan removed
                    the existing income stream of ex-husband, therefore leading to the obvious
                    result of default of the mortgage.

               vii. On January 8, 2015, as part of the refinance process, Carrington issued a
                    letter to Borrower 4 indicating that her application was incomplete.
                    Specifically, Carrington requested that Borrower 4 submit the previous
                    two years forms 1040, 1120, and K1, her two most recent bank statements,
                    and her hazard insurance declaration page. There is no evidence that the
                    1040s, 1120s or K1s were submitted. The borrower did sign a release of
                    her tax returns; however, this release was not signed until the day of
                    closing, February 28, 2015, therefore indicating that Carrington approved
                    the loan without review of said returns.

               viii. The first date for which payment was due on the refinanced mortgage was
                     May 1, 2015. Borrower made her first payment on May 15, 2015.
                     Borrower’s second payment was due on June 1, 2015, but was not made
                     until two months later, on July 30, 2015. No payments were made by
                     borrower after this second payment on July 30.

                ix. This matter resulted in a claim against the U.S. Government in the amount
                    of $49,462.04. The Single-Family Application for Insurance Benefits
                    claim form was completed by Carrington on March 7, 2017. The reason
                    for the default was excessive obligations, same income, including habitual
                    non-payment of debts. According to the HUD Guidance for Usage, this
                    category is to be used when a delinquency is attributable to the borrower
                    having incurred excessive debts (either in a single instance or as a matter
                    of habit) that prevent them from making payments on both those debts and
                    the mortgage debt. This Borrower’s situation was clear from the
                    documents reviewed by the underwriter that this loan should not have
                    been approved, and approving same was fraud on the U.S. Government for
                    it to insure a loan that was sure to fail.


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                     x. Due to the use of the streamline noncredit qualifying refinance, which was
                        on its face an improper way to push a debt-plagued low-income borrower
                        through to close, this loan defaulted and the U.S. Government was
                        damaged.

         7.      Carrington, by, through, and dictated by its employees (including, but not limited

  to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt,

  Cassandra Miller, Rich Marfino, Bruce Rose and Jeff Gillis) nevertheless certified that all of the

  loans that it approved for government insurance or refinancing met all of the underwriting

  requirements applicable to FHA loans. These false certifications misled HUD into believing that

  thousands of loans had been properly underwritten and were eligible for government insurance

  or refinancing when, in fact, the loans were high-risk and did not qualify for such insurance or

  refinancing.   Based on these false certifications, HUD accepted thousands of loans for

  government insurance or refinancing that they otherwise would not have accepted for such

  insurance or refinancing. When these deficient loans ultimately defaulted, HUD, which had

  insured the loans against default based on Carrington’s false certifications, was left to cover the

  losses. See Paragraph 6 above for specific examples of same.

         8.      Furthermore, Carrington, by, through, and dictated by its employees (including,

  but not limited to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau,

  Lisa Pratt, Cassandra Miller, Rich Marfino, Bruce Rose and Jeff Gillis), and on a nearly daily

  basis, has been manipulating TOTAL Mortgage Scorecard ("TOTAL") - a credit-rating

  algorithm maintained by the FHA that works in conjunction with Carrington’s automated

  underwriting system ("AUS") - to obtain "accept/approve" ratings for its FHA loans, in violation

  of HUD rules. TOTAL rates loans as either "accept/approve" or "refer" based on data points that

  Carrington enters into its AUS, including, for example, the dollar value of the borrowers' income


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  and assets.    Loans that receive an "accept/approve" rating are subject to less stringent

  documentation requirements and underwriter scrutiny than loans that receive a "refer" rating.

  During the Covered Period, if Carrington ran a loan through its AUS and the loan did not receive

  an "accept/approve" rating from TOTAL, Carrington frequently: (l) re-ran the loan through its

  AUS/TOTAL multiple times over a short period, each time entering into the AUS/TOTAL

  hypothetical data points that lacked a factual basis, to determine the data point values that would

  result in an "accept/approve" rating; and then (2) communicated the qualifying data point values

  to the borrower or broker, thus recklessly increasing the risk of borrower fraud. See Paragraph 6

  above for specific examples of same.

         9.      Finally, during the Covered Period, Carrington, by, through, and dictated by its

  employees (including, but not limited to, Jim Sims, Jeremy Milner, Leslie White, Scott

  Woodard, Raymond Brousseau, Lisa Pratt, Cassandra Miller, Rich Marfino, Bruce Rose and Jeff

  Gillis), repeatedly violated HUD's self-reporting requirement and kept a substantial number of its

  deficient loans a secret. Specifically, as an example, Carrington, by, through, and dictated by its

  employees (including, but not limited to, Jim Sims, Jeremy Milner, Leslie White, Scott

  Woodard, Raymond Brousseau, Lisa Pratt, Cassandra Miller, Rich Marfino, Bruce Rose and Jeff

  Gillis), would direct its employees to ignore the HUD requirement that, upon denial of a loan by

  an underwriter, the denial was to be entered into the Connection as a denied loan, therefore

  creating a red flag on that application. A specific example of the many times this HUD

  requirement was violated occurred when Lisa Pratt, Underwriting Manager, specifically directed

  Relator on October 19, 2013, to NOT report the denial in FHA Connection, even though the loan

  had been denied three times under the following loan numbers: 400505350, 400506874, and

  400507776. Further, Jeff Gillis, a member of Defendant’s Senior Management, held a meeting



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  in the Fishers, Indiana, office in 2014, wherein he directed the underwriters in that office to NOT

  report denials in FHA Connection. Carrington knew that HUD rules required it to perform

  quality control reviews on a subset of the loans it had approved for FHA insurance, and to self-

  report to HUD any loans that it identified as having been affected by fraud or other serious

  violations. This self-reporting requirement was meant to enable HUD to investigate bad loans

  and to request reimbursement or indemnification from lenders, as appropriate. Carrington,

  however, repeatedly failed to comply with the self-reporting requirement, thus concealing from

  HUD many of its bad loans and questionable underwriting practices. See Paragraph 6 above for

  specific examples of same.

         10.     Additionally, when an FHA loan closes, the lender has 30 days to submit the loan

  for mortgage insurance certification. In late 2014 and early 2015, during the end of Relator’s

  tenure with Defendant, Ray Brousseau directed nearly all of the underwriters, processors and

  closers of Carrington to focus all efforts to help get thousands of closed FHA loans properly

  insured. Many of these loans had been closed for many months, and some over a year, without

  Carrington having submitted them to FHA for mortgage insurance coverage. Therefore, the

  borrowers were paying Carrington mortgage insurance premiums, when in fact their mortgages

  were not insured. This substantial violation was not reported to FHA and the mortgage insurance

  premiums collected by Carrington were not returned to the borrowers. This activity evidences

  fraud on behalf of Carrington, and a lack of self-reporting and following required FHA

  guidelines.

                                          III.    PARTIES

         11.     Plaintiff/Relator Michelle Calderon is a resident of Carmel, Indiana, and is a

  former employee of Carrington Mortgage Services, LLC. In March 2013, Calderon joined



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  Carrington as an underwriter in its Fishers, Indiana office. Relator has provided the government

  with information and documents in accordance with 31 U.S.C. §3730(b)(2). Relator is an

  original source of this information, and this Complaint is not based upon publicly disclosed

  information.

         12.     Defendant Carrington Mortgage Services, LLC is organized under the laws of the

  State of California, with a principal place of business in Santa Ana, California. Carrington

  operates various operations centers that provide mortgage loan servicing. Carrington has been

  approving loans for insurance and refinancing by the FHA company-wide since 2007, and in

  Indiana since at least March of 2013.

                                IV.       FACTUAL BACKGROUND

  1.     HUD’s Direct Endorsement Lender Program.

         A.      Background.

         13.     The FHA, a part of HUD (and included within the term "HUD" for purposes of

  this Complaint), is the largest insurer of residential mortgage loans in the world. Pursuant to the

  National Housing Act of 1934, HUD offers various mortgage insurance programs. Through

  these programs, the FHA insures approved lenders ("mortgagees" or "Direct Endorsement

  Lenders") against losses on mortgage loans made to buyers of single-family homes.

         14.     Under HUD's mortgage insurance programs, if a homeowner defaults on an FHA

  insured loan and the mortgage holder forecloses on the property, HUD will pay the mortgage

  holder the balance of the loan and assume ownership and possession of the property. By

  protecting mortgage holders against defaults on mortgages, FHA mortgage insurance encourages

  lenders to make loans to millions of creditworthy Americans who might not qualify for loans

  under conventional underwriting criteria. FHA mortgage insurance also makes mortgage loans



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  valuable in the secondary markets, as FHA loans are expected to have met HUD underwriting

  requirements and because they are secured by the full faith and credit of the United States.

         15.     HUD's Direct Endorsement Lender program is one of HUD's mortgage insurance

  programs. Under this program, an approved lender (i.e., a Direct Endorsement Lender) is

  authorized to underwrite mortgage loans, decide whether the borrower represents an acceptable

  credit risk for HUD, and certify loans for FHA mortgage insurance without prior review or

  approval of the loans by the FHA or HUD. Direct Endorsement Lenders are private entities,

  such as banks and mortgage companies.

         16.     To qualify for FHA mortgage insurance, a mortgage must meet all of the

  applicable HUD underwriting requirements. These underwriting requirements relate to, among

  other things, the adequacy of the borrower's income and assets to meet his or her mortgage

  payments and the borrower's credit history.

         17.     HUD relies on the experience and expertise of Direct Endorsement Lenders in

  approving loans for FHA insurance. HUD expects Direct Endorsement Lenders to determine

  whether borrowers represent an acceptable credit risk for HUD. Direct Endorsement Lenders are

  therefore obligated to act with the utmost good faith, honesty, fairness, undivided loyalty, and

  fidelity in their dealings with HUD. The duty of good faith also requires all Direct Endorsement

  Lenders to make full and fair disclosures to HUD of all material facts and to take on the

  affirmative duty of employing reasonable care to avoid misleading HUD in all circumstances.

         B.      HUD Underwriting Due Diligence Requirements.

         18.     Direct Endorsement Lenders are responsible for all aspects of the mortgage

  application, the property analysis, and the underwriting of the loan. Direct Endorsement Lenders

  must employ underwriters to "evaluate [each] mortgagor's credit characteristics, [the] adequacy



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  and stability of [the mortgagor's] income to meet the periodic payments under the mortgage and

  all other obligations, and the adequacy of the mortgagor's available assets to close the

  transaction, and render an underwriting decision in accordance with applicable regulations,

  policies and procedures." 24 C.F.R. § 203.S(d).

         19.     Direct Endorsement Lenders must also ensure that their underwriters: (l) are

  capable of detecting fraud, as well as warning signs that may be indicators of fraud; and (2)

  exercise due diligence in making underwriting decisions. HUD 4000.4, 2-4(C)(5); HUD 4155.2,

  2.A.4.b.

         20.     HUD relies on Direct Endorsement Lenders to conduct due diligence on all loans

  before approving them for FHA insurance. To satisfy this due diligence requirement, Direct

  Endorsement Lenders must: (1) evaluate each borrower's ability and willingness to repay the

  mortgage debt (i.e., conduct a credit analysis), to limit the possibility of default and collection

  difficulties, see 24 C.F.R. § 203.5(d); and (2) examine the property offered as security for the

  loan to determine if it provides sufficient collateral (i.e., conduct an analysis of the subject

  property), see 24 C.F.R. § 203.5(e)(3).        The due diligence requirement thus requires an

  evaluation of, among other things, a borrower's credit history, income, assets, and collateral. In

  all cases, each Direct Endorsement Lender owes HUD the duty, as prescribed by federal

  regulation, to "exercise the same level of care which it would exercise in obtaining and verifying

  information for a loan in which the mortgagee would be entirely dependent on the property as

  security to protect its investment." 24 C.F.R. § 203.5(c).

         21.     HUD has set specific rules for due diligence predicated on sound underwriting

  principles.   In particular, HUD requires Direct Endorsement Lenders to comply with all

  governing HUD Handbooks and Mortgagee Letters, which set forth the underwriting



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  requirements applicable to Direct Endorsement Lenders. These materials specify the minimum

  due diligence requirements with which Direct Endorsement Lenders must comply in endorsing

  loans for FHA insurance.

         22.     HUD requires initial rejections to be reported in the AUS system, through FHA

  Connection, to put HUD on notice of prior failed applications.

         23.     In conducting the required credit analysis for a loan, the Direct Endorsement

  Lender must evaluate the borrower's credit in accordance with all governing HUD Handbooks

  Mortgagee Letters and Guidelines, such as HUD Handbook 4155.1, Mortgage Credit Analysis

  for Mortgage Insurance. The rules set forth in HUD Handbook 4155.1 exist to ensure that each

  Direct Endorsement Lender sufficiently evaluates whether each borrower has the ability and

  willingness to repay the mortgage debt. HUD has informed Direct Endorsement Lenders that

  past credit performance serves as an essential guide in determining a borrower's attitude toward

  credit obligations and in predicting a borrower's future actions.

         C.      Underwriting Loans Using an AUS/TOTAL.

         24.     Underwriters employed by Direct Endorsement Lenders may underwrite loans

  one of two ways: (1) manually, or (2) by using a HUD-approved automated underwriting system.

  See Paragraph 6 above for specific examples of same.

         25.     All HUD-approved AUSs interface with, and operate in conjunction with, a

  credit-evaluating algorithm maintained by the FHA called Technology Open to Approved

  Lenders ("TOTAL") Mortgage Scorecard. When a loan is underwritten using an AUS/TOTAL,

  the Direct Endorsement Lender enters various credit variables into the AUS, such as the dollar

  amount of the borrower's monthly income and available assets, and then, based on those

  variables, TOTAL evaluates the borrower's overall credit and assigns the loan a rating. This



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  rating indicates the level of underwriting that must be performed on the loan. See Paragraph 6

  above for specific examples of same.

         26.    If TOTAL concludes that a borrower's credit is acceptable, it assigns the loan an

  "accept/approve" rating, which means that the loan may be underwritten with less stringent

  documentation requirements and without the underwriter having to fully evaluate the borrower's

  creditworthiness. By contrast, if TOTAL concludes that a borrower's credit requires further

  analysis, it assigns the loan a "refer" rating, in which case the loan must be manually

  underwritten and is subject to more stringent documentation requirements and underwriter

  scrutiny. See Paragraph 6 above for specific examples of same.

         27.    For loans that are underwritten manually (i.e., not using an AUS/TOTAL), Direct

  Endorsement Lenders must, among other things, analyze credit histories, analyze debt

  obligations, calculate debt and income ratios and compare those ratios to the fixed ratios set by

  HUD rules, and consider and document any compensating factors permitting deviations from the

  fixed ratios. These requirements do not apply to loans that receive an "accept/approve" rating

  from TOTAL. See Paragraph 6 above for specific examples of same.

         28.    Direct Endorsement Lenders are not permitted to manipulate the information they

  enter into an AUS/TOTAL to determine what specific variable amounts would result in an

  "accept/approve" rating. For example, if a Direct Endorsement Lender receives a "refer" rating

  after entering all relevant data points into an AUS/TOTAL, the lender may not then enter

  hypothetical income or asset amounts (i.e., income or asset amounts that lack a factual basis) in

  an effort to determine what level of income or assets would generate an "accept/approve" rating.

  Rather, as made clear by Mortgagee Letter 05-15 and FHA's TOTAL Mortgage Scorecard User

  Guide, there must be a factual basis for each variable entered into an AUS/TOTAL. Lenders are



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  not to "willfully manipulate the application variables ... to obtain an accept/approve risk

  classification." Mortgagee Letter 05-15. See Paragraph 6 above for specific examples of same.

         29.    The prohibition on entering unsubstantiated data points into AUS/TOTAL exists,

  among other reasons, to protect against fraud. For instance, if a Direct Endorsement Lender

  entered factually unsupported income or asset amounts into an AUS - and thereby determined the

  precise amount of income or assets necessary to obtain an "accept/approve" rating from TOTAL

  - the lender could falsify loan documents to state that the borrower possesses the required

  amount of income or assets.      Similarly, if a Direct Endorsement Lender manipulated an

  AUS/TOTAL to determine the precise amount of income or assets necessary to obtain an

  "accept/approve" rating and then communicated that information to the borrower or his or her

  agent, the borrower could falsify loan documents to state that he or she possesses the required

  amount of income or assets. See Paragraph 6 above for specific examples of same.

         D.     HUD Underwriting Rules Governing Refinances.

         30.    In addition to approving new loans for FHA insurance, Direct Endorsement

  Lenders are authorized to approve pre-existing FHA loans for refinancing.       A refinancing

  generally results in the lowering of the borrower's monthly principal and interest payments.

  Direct Endorsement Lenders are paid fees in connection with each pre-existing FHA loan they

  approve for refinancing. Direct Endorsement Lenders therefore have a monetary incentive to

  approve FHA loans for refinancing.

         31.    To satisfy the due diligence requirement in connection with refinances, Direct

  Endorsement Lenders must ensure, among other things, that the borrower qualifies for the

  refinance avenue chosen, and "[t]he borrower is current on the loan being refinanced for the

  month due prior to the month in which he/she closes the refinancing, and for the month in which



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  he/she closes the refinancing." HUD 4155.1, 3.A.1.h; see also HUD 4155.1, REV-5, 1-10(E), 1-

  12(D)(6). Thus, for example, if a refinancing closes on May 18, the Direct Endorsement Lender

  must ensure that the borrower made both the April and the May payments at or before the May

  18 closing. See id. See Paragraph 6 above for specific examples of same.

         E.     HUD Individual Loan Certifications.

         32.    For each loan that a Direct Endorsement Lender approves for FHA insurance or

  refinancing, the lender must certify that it conducted due diligence to ensure that the endorsed

  mortgage complies with HUD rules and is "eligible for HUD mortgage insurance under the

  Direct Endorsement program." Form HUD-92900-A. For each loan that is underwritten using an

  AUS/TOTAL, the Direct Endorsement Lender must additionally certify to "the integrity of the

  data supplied by the lender" to the AUS/TOTAL. Id. See Paragraph 6 above for specific

  examples of same.

         33.    Whether a loan is underwritten manually or using an AUS/TOTAL, the Direct

  Endorsement Lender must further certify as follows: "I, the undersigned, as authorized

  representative of mortgagee at the time of closing of this mortgage loan, certify that I have

  personally reviewed the mortgage loan documents, closing statements, application for insurance

  endorsement, and all accompanying documents. I hereby make all certifications required for this

  mortgage as set forth in HUD Handbook 4000.4." Id. HUD Handbook 4000.4 requires, among

  other things, that the mortgage comply "with HUD underwriting requirements as contained in all

  outstanding HUD handbooks and Mortgagee Letters." HUD 4000.4, Appendix 3. See Paragraph

  6 above for specific examples of same.




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         34.     Absent a truthful individual loan certification, a Direct Endorsement Lender is not

  permitted to approve a loan for FHA insurance or refinancing. See Paragraph 6 above for

  specific examples of same.

  2.     Since at least March 2013, Carrington has Submitted Hundreds of False Individual
         Loan Certifications to HUD.

         35.     From at least March 2013 through at least March 2015, Carrington recklessly and

  fraudulently underwrote numerous FHA loans, and falsely certified to HUD that the loans were

  eligible for FHA insurance ("government insurance"). During the Covered Period, Carrington

  also recklessly and fraudulently approved numerous pre-existing FHA loans for refinancing, and

  falsely certified to HUD that the loans were eligible for refinancing. As demonstrated above, the

  loans that Carrington approved for government insurance and refinancing did not suffer from

  minor or technical defects. Rather, the defects involved critical aspects of the loans, were

  apparent from the face of the loan files, and prevented Carrington from reasonably concluding

  that the loans were eligible for government insurance or refinancing. Further, often times there

  would be multiple Casefile IDs assigned to the same loan, apparently to attempt pushing the

  loans through via different avenues, with no legitimate reason to have created the varying files.

  See Paragraph 6 above for specific examples of same. Among the most common defects were

  Carrington’s failure to:

         a.      obtain the required financial documentation from the borrowers (such as pay
                 stubs, bank statements, and W-2s);
         b.      reconcile inconsistent information in the loan files (such as where the income
                 reflected on a borrower's pay stubs was inconsistent with the income reflected on
                 the borrower's W-2s and tax returns/reports; inconsistent debt and creditors,
                 undocuments gifts, and unverified bank accounts,);
         c.      verify the borrowers' employment and rental histories; and
         d.      in the case of refinances, confirm that the loans being refinanced were current at
                 the time of closing and that borrower qualified for the approved refinance option.


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         36.     As a result of Carrington’s reckless underwriting and false individual loan

  certifications, Carrington, by, through, and dictated by its employees including, but not limited

  to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt,

  Cassandra Miller, Mike Lumpkin, Ryan Sears, George Mueller, Rich Marfino, Bruce Rose and

  Jeff Gillis, and those underwriters identified in paragraph 6, HUD paid claims on thousands of

  loans that Carrington knew, or should have known, did not meet the applicable HUD

  underwriting guidelines and, therefore, were ineligible for government insurance or refinancing.

  See Paragraph 6 above for specific examples of same. The Government has suffered substantial

  losses in connection with Carrington’s claims, in excess of $200,000,000. See Paragraph 6

  above for specific examples of same.

         A.      Carrington Recklessly Underwrote and Approved Hundreds of Loans for
                 Government Insurance or Refinancing.

         37.     As set forth above, for each loan that Carrington approved for FHA insurance,

  Carrington was required to certify that it had conducted due diligence to ensure that the loan was

  "eligible for HUD mortgage insurance under the Direct Endorsement program." Form HUD-

  92900-A.     In addition, if Carrington used an AUS/TOTAL in approving a loan for FHA

  insurance, it also had to certify to "the integrity of the data" that it entered into the AUS/TOTAL.

  Id. See Paragraph 6 above for specific examples of same.

         38.     For each pre-existing FHA loan that Carrington approved for refinancing, it had

  to certify that the loan was eligible for refinancing. Specifically, for each such FHA loan,

  Carrington had to certify, among other things, that the borrower qualified for the chosen

  refinance avenue, and was current on his or her mortgage payments both for the month in which

  the refinancing closed and for the prior month. HUD 4155.1, 3.A.l.h; HUD 4155.1, REV-5, ¶¶1-

  10(E), 1-12(D)(6); Form HUD-92900-A. See Paragraph 6 above for specific examples of same.

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         39.     Notwithstanding the above certifications, throughout the Covered Period,

  Carrington, by, through, and dictated by its employees including, but not limited to, Jim Sims,

  Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt, Cassandra Miller,

  Mike Lumpkin, Ryan Sears, George Mueller, Rich Marfino, Bruce Rose, Jeff Gillis, and the

  underwriters set forth in Paragraph 6 above, routinely failed to conduct the required due

  diligence on the loans it approved for government insurance and refinancing. Thousands of

  these loans contained at least one material violation of the applicable HUD underwriting

  guidelines, and many of the loans contained two or more such violations.           Moreover, the

  violations were not difficult to detect; rather, they were apparent from the face of the documents

  in the loan files. See Paragraph 6 above for specific examples of same. Any reasonably diligent

  underwriter should have noticed the violations in underwriting the loans, and any reasonably

  diligent quality control personnel should have uncovered the violations while conducting the

  mandatory quality control reviews of Carrington’s closed loan files. Accordingly, Carrington

  knew, or should have known, that a substantial number of the loans that it approved for

  government insurance and refinancing contained unacceptable risk and did not qualify for such

  insurance or refinancing.

         40.     Furthermore, in violation of the additional certification applicable to FHA loans

  underwritten using an AUS/TOTAL, Carrington, by, through, and at the direction of, including

  but not limited to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau,

  Lisa Pratt, Cassandra Miller, Mike Lumpkin, Ryan Sears, George Mueller, Rich Marfino, Bruce

  Rose and Jeff Gillis, and the underwriters set forth in Paragraph 6 above, entered data into its

  AUS/TOTAL that lacked integrity. Specifically, when loans did not receive an "accept/approve"

  rating from TOTAL, many Carrington loan officers and/or underwriters resubmitted the loans to



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  TOTAL multiple times over a short period, each time entering into Carrington’s AUS

  hypothetical data points that lacked a factual basis in order to determine the data point values that

  would generate an "accept/approve" rating. This violation was occurring on a nearly daily basis.

  Many of these employees then communicated the qualifying data point values to the borrowers

  or their agents, thus inviting borrower fraud. By telling the borrowers the precise data point

  values that would qualify them for an FHA loan, Carrington provided the borrowers with the

  information they needed to create and submit fraudulent loan documents. Carrington also gave

  the borrowers an incentive to submit fraudulent documents; the borrowers knew that if they

  submitted fraudulent documents reflecting the qualifying data point values, they would qualify

  for an FHA loan. See Paragraph 6 above for specific examples of same.

         41.     In addition to recklessly approving loans for FHA insurance in obvious violation

  of HUD's underwriting guidelines, many Carrington employees, by, through, and at the direction

  of Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt,

  Cassandra Miller, Mike Lumpkin, Ryan Sears, George Mueller, Rich Marfino, Bruce Rose and

  Jeff Gillis, and the underwriters set for in Paragraph 6 above, systematically manipulated the data

  they entered into Carrington’s AUS to determine the variable amounts that would generate

  "accept/approve" ratings from TOTAL. For instance, if TOTAL did not approve a loan with

  lender income of $50,000, the employees would submit fictitious income for that borrower

  numerous times until they came up with an “accept/approve” in the system. If that borrower

  came up with “accept/approve” with income of fictitious “58,000”, the employee would then

  report back to the broker or applicant that they needed to show additional income of $8,000,

  which would then often times miraculously appear. See Paragraph 6 above for specific examples

  of same.



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         42.     When a Carrington employee initially ran a loan through the its AUS/TOTAL, he

  or she would enter variable amounts consistent with the borrower's representations and/or the

  documents in the loan file. However, if a loan received a "refer" rating, many Carrington

  employees would isolate one or more variables (e.g., the borrower's assets and/or income or

  debt) and slightly yet systematically increase or decrease the variable(s) during successive

  AUS/TOTAL runs over a short period of time to identify the variable amount(s) that would

  result in an "accept/approve" rating. After identifying the qualifying variable amount(s), many of

  these employees would then communicate that information to the borrower or his or her agent,

  thus inviting the borrower to create and submit fraudulent documents reflecting the qualifying

  variable amount(s). See Paragraph 6 above for specific examples of same.

         43.     In short, during the Covered Period, Carrington, by, through, and at the direction

  of, including but not limited to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard,

  Raymond Brousseau, Lisa Pratt, Cassandra Miller, Mike Lumpkin, Ryan Sears, George Mueller,

  Rich Marfino, Bruce Rose and Jeff Gillis, and the underwriters set forth in Paragraph 6 above,

  engaged in reckless underwriting practices, and falsely certified that thousands of loans were

  eligible for government insurance or refinancing when they were not. As a result of Carrington’s

  false certifications, upon information and belief, the United States has suffered substantial losses

  in connection with claims that HUD has paid on defaulted mortgage loans that were not eligible

  for government insurance or refinancing. See Paragraph 6 above for specific examples of same.

                                              COUNT I

    Violations of the False Claims Act; Presenting or Causing False Claims to be Presented
                                    (Reckless Underwriting)
           (31 U.S.C. § 3729(a)(1) (2006), and, as amended, 31 U.S.C. 3729(a)(1)(A))




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         44.     Relator incorporates by reference each of the preceding paragraphs as if fully set

  forth in this paragraph.

         45.     Relator seeks relief against Carrington under Section 3729(a)(1) of the FCA, 31

  U.S.C. §3729(a)(1) (2006), and, as amended, Section 3729(a)(1)(A) of the FCA, 31 U.S.C.

  §3729(a)(l)(A).

         46.     As set forth above, during the Covered Period, Carrington, by, through, and

  dictated by its employees, including, but not limited to, Jim Sims, Jeremy Milner, Leslie White,

  Scott Woodard, Raymond Brousseau, Lisa Pratt, Cassandra Miller, Mike Lumpkin, Ryan Sears,

  George Mueller, Rich Marfino, Bruce Rose and Jeff Gillis, and the underwriters set forth in

  Paragraph 6 above, knew, or should have known, that it was regularly approving for government

  insurance and refinancing a substantial number of loans that were not eligible for such insurance

  or refinancing. Nonetheless, Carrington certified that its entire portfolio of FHA loans was

  eligible for government insurance or refinancing, and thereby falsely certified that numerous

  FHA loans were eligible for insurance or refinancing when they were not. See Paragraph 6

  above for specific examples of same.

         47.     Carrington, by, through, and dictated by its employees, including, but not limited

  to, Jim Sims, Jeremy Milner, Leslie White, Scott Woodard, Raymond Brousseau, Lisa Pratt,

  Cassandra Miller, Mike Lumpkin, Ryan Sears, George Mueller, Rich Marfino, Bruce Rose and

  Jeff Gillis, knowingly, or acting with deliberate ignorance and/or with reckless disregard for the

  truth, presented or caused to be presented false or fraudulent claims for payment or approval.

  Carrington did so by, among other things, submitting false individual loan certifications to HUD,

  which prompted HUD to accept loans for government insurance and refinancing that did not

  qualify for such insurance or refinancing. See Paragraph 6 above for specific examples of same.



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         48.     The U.S. Government has paid claims, and incurred losses, on FHA loans because

  Carrington falsely certified that they were eligible for government insurance or refinancing. See

  Paragraph 6 above for specific examples of same.

         49.     By reason of the foregoing, the Government has been damaged in a substantial

  amount to be determined at trial, and is entitled to treble damages and a civil penalty as required

  by law for each violation.

                                             COUNT II

    Violations of the False Claims Act; Use of False Statements in Support of False Claims
                                    (Reckless Underwriting)
           (31 U.S.C. § 3729(a)(2) (2006), and, as amended, 31 U.S.C. 3729(a)(1)(B))


         50.     The Relator incorporates by reference each of the preceding paragraphs as if fully

  set forth in this paragraph.

         51.     The Relator, on behalf of the Government, seeks relief against Carrington under

  Section 3729(a)(2) of the FCA, 31 U.S.C. § 3729(a)(2) (2006), and, as amended, Section

  3729(a)(l)(B) of the FCA, 31 U.S.C. § 3729(a)(l )(B).

         52.     As set forth above, during the Covered Period, Carrington knowingly, or acting in

  deliberate ignorance and/or with reckless disregard of the truth, made, used, or caused to be

  made or used, false records and/or statements material to false or fraudulent claims in connection

  with numerous FHA loans that Carrington falsely certified were eligible for government

  insurance or refinancing. Specifically, during the Covered Period, Carrington submitted

  numerous false individual loan certifications to HUD representing, among other things, that each

  loan was eligible for government insurance or refinancing. See Paragraph 6 above for specific

  examples of same.




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         53.     The U.S. Government has paid claims, and incurred losses, on FHA loans because

  Carrington falsely certified that they were eligible for government insurance or refinancing. See

  Paragraph 6 above for specific examples of same.

         54.     By reason of the foregoing, the U.S. Government has been damaged in a

  substantial amount to be determined at trial, and is entitled to treble damages and a civil penalty

  as required by law for each violation.

  Dated: January 31, 2018

                                      JURY TRIAL DEMAND

         Plaintiff hereby demands a trial by jury of all issues so triable.

                                                Respectfully submitted,


                                                /s/ Jennifer L. Blackwell
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  United States of America ex rel. Michelle Calderon

                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 31st day of January, 2018, a copy of the
  foregoing was filed electronically using the CM/ECF system and is available to all counsel of record
  using same.
                                                /s/ Jennifer L. Blackwell
                                                Jennifer L. Blackwell




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